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                                                                SAVANNAH DIV.
             IN THE UNITED STATES DISTRICT COURT
                   THE SOUTHERN DISTRICT OF GEORGIA*                 21 PH12:25
                            SAVANNAH DIVISION
                                                            CLERK-



UNITED STATES OF AMERICA,

V.                                               Case No.    CR419-100


RASHAWN FEREBEE,

                   Defendants




UNITED STATES OF AMERICA,

V.                                               Case No.    CR419-151


CHRISTOPHER WELLS,

                   Defendant.




UNITED STATES OF AMERICA,

V.                                               Case No.    CR419-204


ADERIAUNA SHORTER, ET AL,

                   Defendant.




                                   ORDER


      Frank M. Pennington, counsel of record for the United States

of America    in   the   above-styled   cases,    has   moved for leave           of

absence.     The Court is mindful that personal and              professional

obligations require the absence of counsel on occasion. The Court,
   Case 4:19-cr-00204-JRH-CLR Document 51 Filed 01/21/20 Page 2 of 2



however,   cannot   accommodate   its   schedule   to   the   thousands   of

attorneys who practice within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and         trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.

                         -




    so ORDERED this           day of January 2020.



                                  HONORABLE WILLIA^T T. MOORE, JR
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
